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Case 1:18-cv-00919-RGA Document 70OF Filed
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                                           06/21/18 Page 1 of 1 PageID #: 1723
                                   UNITED STATES DISTRICT COURT
                                            DISTRICT OF DELAWARE
        John A. Cerino                                                                              Unit 18
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                                                     June 21, 2018

TO:      Mani Sheik, Esq.
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         350 South Grand Aveue, 36th Floor
         Los Angeles, CA 90071-3442


                    RE:   DE Case CA 18-919-UNA
                          ND/CA Case CA3:17-3508-SK
                          Baca v. Contego Services Group, LLC et al
Dear Counsel:

         The above referenced action was transferred to the U.S. District Court on June 21, 2018.

        Pursuant to Local Rule 83.5 (Local Rules of Civil Practice and Procedure of the United States District
Court for the District of Delaware, effective August 1, 2016) it is required that all parties associate themselves
with local counsel. Local Rule 83.5 (d) and (e) read as follows:

                   (d) Association with Delaware Counsel required. Unless otherwise ordered, an attorney not
         admitted to practice by the Supreme Court of the State of Delaware may not be admitted pro hac vice in
         this Court unless associated with an attorney who is a member of the Bar of this Court and who maintains
         an office in the District of Delaware for the regular transaction of business (“Delaware counsel”).
         Consistent with CM/ECF Procedures, Delaware counsel shall be the registered users of CM/ECF and
         shall be required to file all papers. Unless otherwise ordered, Delaware counsel shall attend proceedings
         before the Court.

                (e) Time to Obtain Delaware Counsel. A party not appearing pro se shall obtain representation
         by a member of the Bar of this Court or have its counsel associate with a

         member of the Bar of this Court in accordance with D.Del. LR 83.5(d) within 30 days after:

                          (1) The filing of the first paper filed on its behalf; or

                          (2) The filing of a case transferred or removed to this Court.

                          Failure to timely obtain representation shall subject the defaulting party to appropriate
                          sanctions under D.Del. LR 1.3(a).

         Please have your local counsel enter an appearance on or before July 23, 2018.

                                                     Sincerely,

                                                     John A. Cerino
By: /s/ F. Scarpato                                  Clerk of Court
          Deputy Clerk
